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                  EXHIBIT A - SUMMONS
Case 1:21-cv-03970-SEG Document 1-1 Filed 09/24/21 Page 2 of 57
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                  EXHIBIT B - COMPLAINT
Case 1:21-cv-03970-SEG Document 1-1 Filed 09/24/21 Page 4 of 57
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Case 1:21-cv-03970-SEG Document 1-1 Filed 09/24/21 Page 9 of 57
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                     EXHIBIT C - AFFIDAVIT OF SERVICE
Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21
                          2021CV01576           e-Filed Page    12
                                                        8/30/2021   of AM
                                                                  11:33 57


                                                                      Tiki Brown
                                                             Clerk of State Court
                                                        Clayton County, Georgia
                                                                  Latasha Currie




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                EXHIBIT D - 5.2 WITHOUT DISCOVERY SERVICE
                     Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 14 of 57
                                               2021CV01576                                                      e-Filed 7/12/2021 1:58 PM




                                                                                                                              Tiki Brown
                                                                                                                     Clerk of State Court
                                        IN THE STATE COURT OF CLAYTON COUNTY                                    Clayton County, Georgia
                                                                                                                       Tashea Matthews
                                                   STATE OF GEORGIA


             ROBERTA GEORGE                                             )
                                                                        )
                     Plaintiff,                                         )       CIVIL ACTION
                                                                        )       FILE NO: 2021CV01576
             vs.                                                        )
                                                                        )
                                                                        )
             PUBLIX SUPERMARKET, INC., and                      )
             PUBLIX ASSET MANAGEMENT                                    )
             COMPANY                                                    )
                                                                        )
                     Defendants.                                        )

                                    RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

                       I hereby certify that I have this day filed with the Clerk of Court and filed this Rule 5.2
               Certificate of Service showing a copy of the following: PLAINTIFF’S FIRST INTERROGATORIES TO
               DEFENDANTS, PLAINTIFF'S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
               DEFENDANTS and PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS were served upon all parties
               to this matter electronically via Odyssey eFileGA, statutory electronic service or by depositing a true
               and correct copy thereof in the U.S. Mail with sufficient postage affixed and addressed to counsel of
               record as follows:

                                               Publix Supermarket, Inc.
                                               Publix Asset Management Company
                                               2985 Gordy Parkway, 1st Floor
                                               Marietta, Georgia 30066

                        Respectfully submitted, this 12th day of July, 2021


                                                                               /s/ Keith R. Foster
                                                                               Keith R. Foster
                                                                        Georgia Bar No.: 271001
                                                                               Attorney for Plaintiff
             THE FOSTER FIRM, LLC
             One Crown Center
             1895 Phoenix Blvd., Suite 110
             Atlanta, Georgia 30349
             (P): 404-559-8325
             (F): 404-559-8335
             Email: kfoster@tfflaw.net




Copy from re:SearchGA
Case 1:21-cv-03970-SEG Document 1-1 Filed 09/24/21 Page 15 of 57




                 EXHIBIT E - PUBLIX SUPERMARKET, INC.'S ANSWER AND DEFENSES
                 TO PLAINTIFF'S COMPLAINT
       Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 16 of 57
                                 2021CV01576                                    e-Filed 9/24/2021 2:43 PM




                                                                                               Tiki Brown
                                                                                      Clerk of State Court
              IN THE STATE COURT OF CLAYTON COUNTY                               Clayton County, Georgia
                                                                                             Janice Miller
                         STATE OF GEORGIA

ROBERTA GEORGE,                           )
                                          )
                                          )
             Plaintiff,                   )
                                          )
vs.                                       )
                                          )       Civil Action
                                          )       File No.: 2021CV91576
PUBLIX SUPER MARKETS, INC.                )
AND PUBLIX ASSET                          )
MANAGEMENT COMPANY,                       )
                                          )
                                          )
             Defendants.

      DEFENDANT PUBLIX SUPER MARKETS, INC.’S ANSWER AND
       DEFENSES TO PLAINTIFF’S COMPLAINT FOR DAMAGES

       COMES NOW Publix Super Markets, Inc. (“Publix” hereinafter), and hereby

files its Answer and Defenses to Plaintiff’s Complaint for Damages (“Complaint”

hereinafter), showing the Court as follows:

                                 FIRST DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief may be granted.

                               SECOND DEFENSE

       No action or inaction on the part of Publix caused or contributed to Plaintiff’s

alleged injuries.

                                 THIRD DEFENSE

       Venue is improper and the Complaint should be dismissed on these grounds.

                               FOURTH DEFENSE




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      Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 17 of 57
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      In response to the individually numbered paragraphs in Plaintiff’s Complaint,

Publix responds as follows:

                        JURISDICTION AND PARTIES

                                         1.

      Publix is without knowledge sufficient to admit or deny the allegations

contained in Paragraph 1 of Plaintiff’s Complaint, and therefore must deny the same.

                                         2.

      Publix admits the allegations contained in Paragraph 2 of Plaintiff’s

Complaint.

                                         3.

      Publix admits Publix Asset Management Company’s principal office is

located at 3300 Publix Corporate Parkway, Lakeland, Florida 33811. Publix denies

all remaining allegations contained in Paragraph 3 of Plaintiff’s Complaint.

                         STATEMENT OF THE CASE

                                         4.

      Publix is without knowledge sufficient to admit or deny the allegations

contained in Paragraph 4 of Plaintiff’s Complaint, and therefore must deny the same.

                                         5.

      Publix admits Ms. George slipped and fell in the deli area of the Publix store.

Publix is without knowledge sufficient to admit or deny all remaining allegations




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      Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 18 of 57
                                2021CV01576




contained in Paragraph 5 of Plaintiff’s Complaint, and therefore must deny the same.

                                         6.

      Paragraph 6 of Plaintiff’s Complaint states a legal conclusion to which no

response is required. Should the Court deem any further response necessary, Publix

denies the allegations contained in Paragraph 6 of Plaintiff’s Complaint.

                                         7.

      Publix denies the allegations contained in Paragraph 7 of Plaintiff’s

Complaint.

                                         8.

      Publix is without knowledge sufficient to admit or deny the injury allegations

contained in Paragraph 8 of Plaintiff’s Complaint, and therefore must deny the same.

Publix denies all remaining allegations contained in Paragraph 8 of Plaintiff’s

Complaint.

                                         9.

      Publix is without knowledge sufficient to admit or deny the injury and damage

allegations contained in Paragraph 9 of Plaintiff’s Complaint, and therefore must

deny the same. Publix denies all remaining allegations contained in Paragraph 9 of

Plaintiff’s Complaint.

                                        10.

      Publix denies the allegations contained in Paragraph 10 of Plaintiff’s




                                   7900572v.1-3-
      Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 19 of 57
                                2021CV01576




Complaint.

                                        11.

      Publix denies the allegations contained in Paragraph 11 of Plaintiff’s

Complaint.

                                        12.

      Publix denies the allegations contained in Paragraph 12 of Plaintiff’s

Complaint.

                                        13.

      Publix is without knowledge sufficient to admit or deny the damage

allegations contained in Paragraph 13 of Plaintiff’s Complaint, and therefore must

deny the same. Publix denies all remaining allegations contained in Paragraph 13

of Plaintiff’s Complaint.

                                        14.

      Publix denies the allegations contained in Paragraph 14 of Plaintiff’s

Complaint as stated.

                                        15.

      Paragraph 15 of Plaintiff’s Complaint states a legal conclusion to which no

response is required. Should the Court deem any further response necessary, Publix

denies the allegations contained in Paragraph 15 of Plaintiff’s Complaint.

                                        16.




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       Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 20 of 57
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      Publix denies Plaintiff is entitled to recover from it any damages or relief for

which Plaintiff has prayed in the WHEREFORE Paragraph contained in Paragraph

16 of Plaintiff’s Complaint, inclusive of subparts (a) through (d).

                                          17.

      Any allegation, language or paragraph contained in Plaintiff’s Complaint

which has not been expressly responded to by Publix is hereby denied by Publix.

                                          18.

      WHEREFORE, having fully answered, Publix demands judgment in its favor.

Publix further requests a trial by a jury of twelve (12) on all issues.

      This 24th day of September, 2021.


                                                Respectfully submitted,

                                                COPELAND, STAIR, KINGMA &
                                                LOVELL, LLP
 Copeland, Stair, Kingma
 & Lovell, LLP                                  By: /s/ Melissa C. Greene
 191 Peachtree Street, NE, Suite 3600               CHARLES M. MCDANIEL, JR.
 P.O. Box 56887 (30343-0887)                        State Bar No. 487905
 Atlanta, GA 30303-1740                             MELISSA C. GREENE
 Telephone (404) 522-8220                           Georgia State Bar No. 580723
 Facsimile (404) 523-2345
 cmcdaniel@cskl.law                                 Attorneys for Publix Super Markets,
 mgreene@cskl.law                                   Inc.




                                     7900572v.1-5-
       Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 21 of 57
                                 2021CV01576




              IN THE STATE COURT OF CLAYTON COUNTY
                         STATE OF GEORGIA

ROBERTA GEORGE,                            )
                                           )
                                           )
             Plaintiff,                    )
                                           )
vs.                                        )
                                           )        Civil Action
                                           )        File No.: 2021CV91576
PUBLIX SUPER MARKETS, INC.                 )
AND PUBLIX ASSET                           )
MANAGEMENT COMPANY,                        )
                                           )
                                           )
             Defendants.

                           CERTIFICATE OF SERVICE

I hereby certify that I have this day served a copy of the within and foregoing

DEFENDANT PUBLIX SUPER MARKETS, INC.’S ANSWER AND

DEFENSES TO PLAINTIFF’S COMPLAINT FOR DAMAGES upon all

parties to this matter via electronic filing, addressed to counsel of record as follows:

                               Keith R. Foster, Esq.
                            THE FOSTER FIRM, LLC
                                One Crown Center
                           1895 Phoenix Blvd., Suite 110
                                Atlanta, GA 30349
                                kfoster@tfflaw.net


      This 24th day of September, 2021.




                                    7900572v.1-6-
     Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 22 of 57
                               2021CV01576




                                        Respectfully submitted,

                                        COPELAND, STAIR, KINGMA &
Copeland, Stair, Kingma                 LOVELL, LLP
& Lovell, LLP
191 Peachtree Street, NE, Suite 3600    By: /s/ Melissa C. Greene
P.O. Box 56887 (30343-0887)                 CHARLES M. MCDANIEL, JR.
Atlanta, GA 30303-1740                      State Bar No. 487905
Telephone (404) 522-8220                    MELISSA C. GREENE
Facsimile (404) 523-2345                    Georgia State Bar No. 580723
cmcdaniel@cskl.law
mgreene@cskl.law                            Attorneys for Publix Super Markets,
                                            Inc.




                                7900572v.1-7-
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                EXHIBIT F - PUBLIX SUPERMARKET, INC.'S JURY DEMAND
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                                                                                             Tiki Brown
                                                                                    Clerk of State Court
              IN THE STATE COURT OF CLAYTON COUNTY                             Clayton County, Georgia
                                                                                           Janice Miller
                         STATE OF GEORGIA

ROBERTA GEORGE,                            )
                                           )
                                           )
             Plaintiff,                    )
                                           )
vs.                                        )
                                           )       Civil Action
                                           )       File No.: 2021CV91576
PUBLIX SUPER MARKETS, INC.                 )
AND PUBLIX ASSET                           )
MANAGEMENT COMPANY,                        )
                                           )
                                           )
             Defendants.

       DEFENDANT PUBLIX SUPER MARKETS, INC.’S DEMAND FOR
                    JURY TRIAL BY TWELVE

      COMES NOW Defendant Publix Super Markets, Inc. (“Publix” hereinafter) and

hereby demands that the above captioned case be tried by a jury of twelve.


      This 24th day of September, 2021.


                                               Respectfully submitted,

                                               COPELAND, STAIR, KINGMA &
                                               LOVELL, LLP
 Copeland, Stair, Kingma
 & Lovell, LLP                                 By: /s/ Melissa C. Greene
 191 Peachtree Street, NE, Suite 3600              CHARLES M. MCDANIEL, JR.
 P.O. Box 56887 (30343-0887)                       State Bar No. 487905
 Atlanta, GA 30303-1740                            MELISSA C. GREENE
 Telephone (404) 522-8220                          Georgia State Bar No. 580723
 Facsimile (404) 523-2345
 cmcdaniel@cskl.law                                Attorneys for Publix Super Markets,
 mgreene@cskl.law                                  Inc.




7906285v.1
      Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 25 of 57
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              IN THE STATE COURT OF CLAYTON COUNTY
                         STATE OF GEORGIA

ROBERTA GEORGE,                           )
                                          )
                                          )
             Plaintiff,                   )
                                          )
vs.                                       )
                                          )        Civil Action
                                          )        File No.: 2021CV91576
PUBLIX SUPER MARKETS, INC.                )
AND PUBLIX ASSET                          )
MANAGEMENT COMPANY,                       )
                                          )
                                          )
             Defendants.

                           CERTIFICATE OF SERVICE

I hereby certify that I have this day served a copy of the within and foregoing

DEFENDANT PUBLIX SUPER MARKETS, INC.’S DEMAND FOR JURY

TRIAL BY TWELVE upon all parties to this matter via electronic filing, addressed

to counsel of record as follows:

                               Keith R. Foster, Esq.
                            THE FOSTER FIRM, LLC
                                One Crown Center
                           1895 Phoenix Blvd., Suite 110
                                Atlanta, GA 30349
                                kfoster@tfflaw.net


      This 24th day of September, 2021.




                                   7906285v.1-2-
     Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 26 of 57
                               2021CV01576




                                        Respectfully submitted,

                                        COPELAND, STAIR, KINGMA &
Copeland, Stair, Kingma                 LOVELL, LLP
& Lovell, LLP
191 Peachtree Street, NE, Suite 3600    By: /s/ Melissa C. Greene
P.O. Box 56887 (30343-0887)                 CHARLES M. MCDANIEL, JR.
Atlanta, GA 30303-1740                      State Bar No. 487905
Telephone (404) 522-8220                    MELISSA C. GREENE
Facsimile (404) 523-2345                    Georgia State Bar No. 580723
cmcdaniel@cskl.law
mgreene@cskl.law                            Attorneys for Publix Super Markets,
                                            Inc.




                                7906285v.1-3-
Case 1:21-cv-03970-SEG Document 1-1 Filed 09/24/21 Page 27 of 57




              EXHIBIT G - PUBLIX ASSET MANAGEMENT'S ANSWER AND DEFENSES
              TO PLAINTIFF'S COMPLAINT
       Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 28 of 57
                                 2021CV01576                                   e-Filed 9/24/2021 2:43 PM




                                                                                             Tiki Brown
                                                                                    Clerk of State Court
               IN THE STATE COURT OF CLAYTON COUNTY                            Clayton County, Georgia
                                                                                           Janice Miller
                          STATE OF GEORGIA

ROBERTA GEORGE,                           )
                                          )
                                          )
              Plaintiff,                  )
                                          )
vs.                                       )
                                          )      Civil Action
                                          )      File No.: 2021CV01576
PUBLIX SUPER MARKETS, INC.                )
AND PUBLIX ASSET                          )
MANAGEMENT COMPANY,                       )
                                          )
                                          )
              Defendants.                 )

 DEFENDANT PUBLIX ASSET MANAGEMENT COMPANY’S ANSWER
   AND DEFENSES TO PLAINTIFF’S COMPLAINT FOR DAMAGES

       COMES NOW Publix Asset Management Company (“Publix Asset”

hereinafter), and hereby files its Answer and Defenses to Plaintiff’s Complaint for

Damages (“Complaint” hereinafter), showing the Court as follows:

                                FIRST DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief may be granted.

                                SECOND DEFENSE

       No action or inaction on the part of Publix Asset caused or contributed to

Plaintiff’s alleged injuries.

                                THIRD DEFENSE

       Publix Asset is not a proper party to this lawsuit and Plaintiff’s Complaint

must be dismissed as to Publix Asset on these grounds.




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      Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 29 of 57
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                              FOURTH DEFENSE

      Venue is improper and the Complaint should be dismissed on these grounds.

                                FIFTH DEFENSE

      In response to the individually numbered paragraphs in Plaintiff’s Complaint,

Publix Asset responds as follows:

                        JURISDICTION AND PARTIES

                                         1.

      Publix Asset is without knowledge sufficient to admit or deny the allegations

contained in Paragraph 1 of Plaintiff’s Complaint, and therefore must deny the same.

                                         2.

      Publix Asset admits the allegations contained in Paragraph 2 of Plaintiff’s

Complaint.

                                         3.

      Publix Asset admits its principal office is located at 3300 Publix Corporate

Parkway, Lakeland, Florida 33811. Publix Asset denies all remaining allegations

contained in Paragraph 3 of Plaintiff’s Complaint.

                         STATEMENT OF THE CASE

                                         4.

      Publix Asset is without knowledge sufficient to admit or deny the allegations

contained in Paragraph 4 of Plaintiff’s Complaint, and therefore must deny the same.




                                    7901214v.1-2-
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                                          5.

        Publix Asset is without knowledge sufficient to admit or deny the allegations

contained in Paragraph 5 of Plaintiff’s Complaint, and therefore must deny the same.

                                          6.

        Paragraph 6 of Plaintiff’s Complaint states a legal conclusion to which no

response is required. Should the Court deem any further response necessary, Publix

Asset denies the allegations contained in Paragraph 6 of Plaintiff’s Complaint.

                                          7.

        Publix Asset is without knowledge sufficient to admit or deny the allegations

contained in Paragraph 7 of Plaintiff’s Complaint, and therefore must deny the same.

                                          8.

        Publix Asset is without knowledge sufficient to admit or deny the allegations

contained in Paragraph 8 of Plaintiff’s Complaint, and therefore must deny the same.

                                          9.

        Publix Asset is without knowledge sufficient to admit or deny the allegations

contained in Paragraph 9 of Plaintiff’s Complaint, and therefore must deny the same.

                                         10.

        Publix Asset is without knowledge sufficient to admit or deny the allegations

contained in Paragraph 10 of Plaintiff’s Complaint, and therefore must deny the

same.




                                    7901214v.1-3-
        Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 31 of 57
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                                         11.

        Publix Asset is without knowledge sufficient to admit or deny the allegations

contained in Paragraph 11 of Plaintiff’s Complaint, and therefore must deny the

same.

                                         12.

        Publix Asset is without knowledge sufficient to admit or deny the allegations

contained in Paragraph 12 of Plaintiff’s Complaint, and therefore must deny the

same.

                                         13.

        Publix Asset is without knowledge sufficient to admit or deny the allegations

contained in Paragraph 13 of Plaintiff’s Complaint, and therefore must deny the

same.

                                         14.

        Publix Asset denies all allegations contained in Paragraph 14 of Plaintiff’s

Complaint that relate to Publix Asset. Publix Asset is without knowledge sufficient

to admit or deny any and all allegations contained in Paragraph 14 of Plaintiff’s

Complaint as they relate to Publix Super Markets, Inc., and therefore must deny the

same.

                                         15.

        Publix Asset denies all allegations contained in Paragraph 15 of Plaintiff’s




                                    7901214v.1-4-
        Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 32 of 57
                                  2021CV01576




Complaint that relate to Publix Asset. Publix Asset is without knowledge sufficient

to admit or deny any and all allegations contained in Paragraph 15 of Plaintiff’s

Complaint as they relate to Publix Super Markets, Inc., and therefore must deny the

same.

                                          16.

        Publix Asset denies Plaintiff is entitled to recover from it any damages or

relief for which Plaintiff has prayed in the WHEREFORE Paragraph contained in

Paragraph 16 of Plaintiff’s Complaint, inclusive of subparts (a) through (d). Publix

Asset is without knowledge sufficient to admit or deny any and all allegations

contained in Paragraph 16 of Plaintiff’s Complaint as they relate to Publix Super

Markets, Inc., and therefore must deny the same.

                                          17.

        Any allegation, language or paragraph contained in Plaintiff’s Complaint

which has not been expressly responded to by Publix Asset is hereby denied by

Publix Asset.

                                          18.

        WHEREFORE, having fully answered, Publix Asset demands judgment in its

favor. Publix Asset further requests a trial by a jury of twelve (12) on all issues.

        This 24th day of September, 2021.




                                    7901214v.1-5-
     Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 33 of 57
                               2021CV01576




                                        Respectfully submitted,

                                        COPELAND, STAIR, KINGMA &
                                        LOVELL, LLP
Copeland, Stair, Kingma
& Lovell, LLP                           By: /s/ Melissa C. Greene
191 Peachtree Street, NE, Suite 3600        CHARLES M. MCDANIEL, JR.
P.O. Box 56887 (30343-0887)                 State Bar No. 487905
Atlanta, GA 30303-1740                      MELISSA C. GREENE
Telephone (404) 522-8220                    Georgia State Bar No. 580723
Facsimile (404) 523-2345
cmcdaniel@cskl.law                          Attorneys for Publix Asset
mgreene@cskl.law                            Management Company




                                7901214v.1-6-
       Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 34 of 57
                                 2021CV01576




              IN THE STATE COURT OF CLAYTON COUNTY
                         STATE OF GEORGIA

ROBERTA GEORGE,                            )
                                           )
                                           )
             Plaintiff,                    )
                                           )
vs.                                        )
                                           )        Civil Action
                                           )        File No.: 2021CV91576
PUBLIX SUPER MARKETS, INC.                 )
AND PUBLIX ASSET                           )
MANAGEMENT COMPANY,                        )
                                           )
                                           )
             Defendants.

                           CERTIFICATE OF SERVICE

I hereby certify that I have this day served a copy of the within and foregoing

DEFENDANT PUBLIX ASSET MANAGEMENT COMPANY’S ANSWER

AND DEFENSES TO PLAINTIFF’S COMPLAINT FOR DAMAGES upon all

parties to this matter via electronic filing, addressed to counsel of record as follows:

                               Keith R. Foster, Esq.
                            THE FOSTER FIRM, LLC
                                One Crown Center
                           1895 Phoenix Blvd., Suite 110
                                Atlanta, GA 30349
                                kfoster@tfflaw.net


      This 24th day of September, 2021.



                                               Respectfully submitted,



                                    7901214v.1-7-
     Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 35 of 57
                               2021CV01576




                                        COPELAND, STAIR, KINGMA &
Copeland, Stair, Kingma                 LOVELL, LLP
& Lovell, LLP
191 Peachtree Street, NE, Suite 3600    By: /s/ Melissa C. Greene
P.O. Box 56887 (30343-0887)                 CHARLES M. MCDANIEL, JR.
Atlanta, GA 30303-1740                      State Bar No. 487905
Telephone (404) 522-8220                    MELISSA C. GREENE
Facsimile (404) 523-2345                    Georgia State Bar No. 580723
cmcdaniel@cskl.law
mgreene@cskl.law                            Attorneys for Publix Asset
                                            Management Company




                                7901214v.1-8-
Case 1:21-cv-03970-SEG Document 1-1 Filed 09/24/21 Page 36 of 57




                 EXHIBIT H - PUBIX ASSET MANAGEMENT CO'S JURY DEMAND
      Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 37 of 57
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                                                                                             Tiki Brown
                                                                                    Clerk of State Court
              IN THE STATE COURT OF CLAYTON COUNTY                             Clayton County, Georgia
                                                                                           Janice Miller
                         STATE OF GEORGIA

ROBERTA GEORGE,                           )
                                          )
                                          )
             Plaintiff,                   )
                                          )
vs.                                       )
                                          )       Civil Action
                                          )       File No.: 2021CV91576
PUBLIX SUPER MARKETS, INC.                )
AND PUBLIX ASSET                          )
MANAGEMENT COMPANY,                       )
                                          )
                                          )
             Defendants.

 DEFENDANT PUBLIX ASSET MANAGEMENT COMPANY’S DEMAND FOR
                   JURY TRIAL BY TWELVE

      COMES NOW Defendant Publix Asset Management Company (“Publix Asset”

hereinafter) and hereby demands that the above captioned case be tried by a jury of

twelve.


      This 24th day of September, 2021.


                                              Respectfully submitted,

                                              COPELAND, STAIR, KINGMA &
                                              LOVELL, LLP
 Copeland, Stair, Kingma
 & Lovell, LLP                                By: /s/ Melissa C. Greene
 191 Peachtree Street, NE, Suite 3600             CHARLES M. MCDANIEL, JR.
 P.O. Box 56887 (30343-0887)                      State Bar No. 487905
 Atlanta, GA 30303-1740                           MELISSA C. GREENE
 Telephone (404) 522-8220                         Georgia State Bar No. 580723
 Facsimile (404) 523-2345
 cmcdaniel@cskl.law                               Attorneys for Publix Asset
 mgreene@cskl.law                                 Management Company


7906289v.1
      Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 38 of 57
                                2021CV01576




              IN THE STATE COURT OF CLAYTON COUNTY
                         STATE OF GEORGIA

ROBERTA GEORGE,                           )
                                          )
                                          )
             Plaintiff,                   )
                                          )
vs.                                       )
                                          )          Civil Action
                                          )          File No.: 2021CV91576
PUBLIX SUPER MARKETS, INC.                )
AND PUBLIX ASSET                          )
MANAGEMENT COMPANY,                       )
                                          )
                                          )
             Defendants.

                           CERTIFICATE OF SERVICE

I hereby certify that I have this day served a copy of the within and foregoing

DEFENDANT PUBLIX ASSET MANAGEMENT COMPANY’S DEMAND

FOR JURY TRIAL BY TWELVE upon all parties to this matter via electronic

filing, addressed to counsel of record as follows:

                               Keith R. Foster, Esq.
                            THE FOSTER FIRM, LLC
                                One Crown Center
                           1895 Phoenix Blvd., Suite 110
                                Atlanta, GA 30349
                                kfoster@tfflaw.net


      This 24th day of September, 2021.




                                   7906289v.1-2-
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                                        Respectfully submitted,

                                        COPELAND, STAIR, KINGMA &
                                        LOVELL, LLP
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& Lovell, LLP                           By: /s/ Melissa C. Greene
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                  EXHIBIT I - GEORGE SETTLEMENT DEMAND - REDACTED
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Redacted
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                 EXHIBIT J - NOTICE OF REMOVAL
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                                                                                                 Tiki Brown
                                                                                        Clerk of State Court
               IN THE STATE COURT OF CLAYTON COUNTY                                Clayton County, Georgia
                                                                                               Janice Miller
                          STATE OF GEORGIA

ROBERTA GEORGE,                            )
                                           )
                                           )
             Plaintiff,                    )
                                           )
vs.                                        )
                                           )       Civil Action
                                           )       File No.: 2021CV91576
PUBLIX SUPER MARKETS, INC.                 )
AND PUBLIX ASSET                           )
MANAGEMENT COMPANY,                        )
                                           )
                                           )
             Defendants.
                             NOTICE OF REMOVAL

      PLEASE TAKE NOTICE, Publix Super Markets, Inc. (“Publix” hereinafter),

and Defendant Publix Asset Management Company, (“Publix Asset” hereinafter), by

and through undersigned counsel, has filed a Petition for Removal in the office of the

clerk of the United States District Court, Northern District of Georgia, Gainesville

Division. A copy of the Petition for Removal is attached hereto as Exhibit “A.” By

virtue of law, the aforesaid case is now removed and all further proceedings in the State

Court of Clayton County are stayed.

      This 24th day of September, 2021.

                              (Signatures on next page)




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                                        Respectfully submitted,

                                        COPELAND, STAIR, KINGMA &
                                        LOVELL, LLP

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                                             Markets, Inc. and Publix Asset
                                             Management Company




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              IN THE STATE COURT OF CLAYTON COUNTY
                         STATE OF GEORGIA

ROBERTA GEORGE,                           )
                                          )
                                          )
             Plaintiff,                   )
                                          )
vs.                                       )
                                          )          Civil Action
                                          )          File No.: 2021CV91576
PUBLIX SUPER MARKETS, INC.                )
AND PUBLIX ASSET                          )
MANAGEMENT COMPANY,                       )
                                          )
                                          )
             Defendants.

                           CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a copy of the within and foregoing

NOTICE OF REMOVAL pleading upon all parties to this matter via electronic

filing, addressed to counsel of record as follows:

                               Keith R. Foster, Esq.
                            THE FOSTER FIRM, LLC
                                One Crown Center
                           1895 Phoenix Blvd., Suite 110
                                Atlanta, GA 30349
                                kfoster@tfflaw.net


      This 24th day of September, 2021.


                                 (Signatures on next page)




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      Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 49 of 57
                                2021CV01576




                                        Respectfully submitted,

                                        COPELAND, STAIR, KINGMA &
                                        LOVELL, LLP

                                        By: /s/ Melissa C. Greene
                                              CHARLES M. MCDANIEL, JR.
                                              State Bar No. 487905
                                              MELISSA C. GREENE
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                  EXHIBIT A - PETITION FOR REMOVAL
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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          GAINESVILLE DIVISION

ROBERTA GEORGE,                              )
                                             )
                                             )
             Plaintiff,                      )
                                             )
vs.                                          )
                                             )   Civil Action
                                             )   File No.:
PUBLIX SUPER MARKETS, INC.                   )
AND PUBLIX ASSET                             )
MANAGEMENT COMPANY,                          )
                                             )
                                             )
             Defendants.

                           PETITION FOR REMOVAL

      TO: The Honorable Judges of the United States District Court for the Northern

District of Georgia, Gainesville Division:

      COMES NOW, Defendant Publix Super Markets, Inc., “Publix” hereinafter,

and Defendant Publix Asset Management Company, “Publix Asset” hereinafter, by

and through undersigned counsel, and hereby files this Petition for Removal and

respectfully shows this Court the following:

      1.     A civil action has been filed and is now pending in the State Court of

Clayton County, State of Georgia, designated as Civil Action File No. 2021CV91576.

      2.     The Summons and Complaint for Damages in that action were filed in

the State Court of Clayton County on July 12, 2021 and were first received by Publix
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by service through Publix’s registered agent on August 27, 2021. Thus, Publix timely

files this petition of removal.

       3.     The Summons and Complaint for Damages were first received by Publix

Asset Management Company by service through Publix’s registered agent on August

27, 2021. Thus, Publix Asset timely files this petition of removal.

       4.     Publix and Publix Asset files herewith a copy of all process, pleading,

and orders including the Summons and Complaint in this action, pursuant to 28 USC

§§ 1446 and 1446(b), which are attached hereto as:

            • Exhibit A, Summons;

            • Exhibit B, Complaint;

            • Exhibit C, Affidavit of Service;

            • Exhibit D, Plaintiff’s 5.2 Certificate of Service of Discovery, which

               Plaintiff’s Counsel confirmed was improperly filed as no discovery was

               served therein with;

            • Exhibit E, Publix’s Answer and Defenses to Plaintiff’s Complaint;

            • Exhibit F, Publix’s Jury Trial Demand;

            • Exhibit G, Publix Asset’s Answer and Defenses to Plaintiff’s Complaint;

            • Exhibit H, Publix Asset’s Jury Trial Demand;




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               • Exhibit I, Plaintiff’s Pre-Suit Demand Letter dated December 14, 2020,

                   redacted for privacy 1; and

               • Exhibit J, Publix’s Notice of Removal.

         5.       Publix is now, was at the commencement of this suit, and at all times

since been a Domestic Corporation organized and existing under the laws of Florida

and having its principal place of business located at 3300 Publix Corporate Parkway,

Lakeland, Florida 33811.

         6.       Publix Asset is now, was at the commencement of this suit, and at all

times since been a Domestic Corporation organized and existing under the laws of

Florida and having its principal place of business located at 3300 Publix Corporate

Parkway, Lakeland, Florida 33811.

         7.       Plaintiff is a citizen of the State of Georgia.

         8.       The action described above is a civil action with a claim of which this

Court has original jurisdiction, and it is one that may be removed to this Court by

Publix and Publix Asset pursuant to the provisions of 28 USC §§ 1332 and 1441 et

seq., in that there is complete diversity among the parties and Publix as well as Publix

Asset are not residents of the State of Georgia, and the amount in controversy exceeds

$75,000.00 exclusive of interest and costs.



1
  The Pre-Suite Demand Letter filed with this exhibit is redacted for privacy purposes. Please advise if the Court would
like the full settlement demand to be mailed under separate cover.




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      When deciding whether the amount in controversy has been satisfied, the

District Court can use its judicial experience and common sense in determining

whether a case satisfies the amount in controversy. Roe v. Michelin North America,

Inc., 613 F.3d. 1058, 1064 (11th Cir. 2010); see also Carr v. Halloway, No. 5:09-CV-

327, 2010 WL 3937407 (M.D. Ga. Oct. 1, 2010) (granting motion for reconsideration

in light of Roe v. Michelin North America, Inc. and concluding under Roe standard that

amount in controversy was satisfied based on allegations in complaint); see also Dye

v. Amdocs Development Centre India, LLP, No. 1:18-cv-02122, 2020 WL 5215182

(N.D. Ga. Aug. 31, 2020) (finding amount in controversy satisfied after medical

records submitted with the plaintiff’s pre-suit demand demonstrated the plaintiff’s

recommended surgery would increase the damages in excess of the required amount

in controversy).

      On December 14, 2020, Plaintiff submitted a demand for damages to Publix

wherein Plaintiff demanded $750,000.00 to settle the claims raised against Publix in

the Underlying Lawsuit. [Exhibit I]. Subsequently, Plaintiff filed the underlying

lawsuit wherein she seeks to recover, inter alia, special, compensatory, consequential,

and economic damages for “serious bodily injuries” allegedly sustained by Plaintiff.

[Exhibit B, pp. 3-6]. Although the Complaint does not specify the amount of special

damages Plaintiff seeks to recover in the Underlying Lawsuit, Plaintiff has specifically

stated her intention to seek recovery of at least $750,000.00 in the Underlying Lawsuit.




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[Exhibit I]. Therefore, the amount in controversy far exceeds $75,000.00, exclusive of

interest and costs.

       9.     Publix has attached hereto a copy of Publix’s Notice of Removal in the

State Court of Clayton County, Georgia. [Exhibit J].

       10.    This action is currently pending in the State Court of Clayton County,

Georgia, which is within the jurisdiction of the Northern District of Georgia,

Gainesville Division. 28 U.S.C.A. § 1446(a).

       WHEREFORE Publix and Publix Asset prays the above action now pending

before the State Court of Clayton County, Georgia be removed to this Court.

              This 24th day of September, 2021.



                                               Respectfully submitted,

                                               COPELAND, STAIR, KINGMA &
                                               LOVELL, LLP

 191 Peachtree Street NE, Suite 3600           By: /s/ Melissa C. Greene
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                                                    Markets, Inc. and Publix Asset
                                                    Management Company




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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          GAINESVILLE DIVISION

ROBERTA GEORGE,                           )
                                          )
                                          )
             Plaintiff,                   )
                                          )
vs.                                       )
                                          )          Civil Action
                                          )          File No.:
PUBLIX SUPER MARKETS, INC.                )
AND PUBLIX ASSET                          )
MANAGEMENT COMPANY,                       )
                                          )
                                          )
             Defendants.

                           CERTIFICATE OF SERVICE

      I hereby certify that I have this day served a copy of the within and foregoing

PETITION FOR REMOVAL pleading upon all parties to this matter via electronic

filing, addressed to counsel of record as follows:

                               Keith R. Foster, Esq.
                            THE FOSTER FIRM, LLC
                                One Crown Center
                           1895 Phoenix Blvd., Suite 110
                                Atlanta, GA 30349
                                kfoster@tfflaw.net


      This 24th day of September, 2021.

                                              Respectfully submitted,

                                              COPELAND, STAIR, KINGMA &
                                              LOVELL, LLP


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      Case 1:21-cv-03970-SEG Document  1-1 Filed 09/24/21 Page 57 of 57
                                2021CV01576




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                                              State Bar No. 487905
                                              MELISSA C. GREENE
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7901148v.1
